FORM denyff
REVISED 02/18/2016



                          UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF ARIZONA

In re:                                                      Case No.: 2:19−bk−05257−EPB

    ASHLYNN D MEDINA                                        Chapter: 7
    aka ASHLYNN D PHELPS
    7425 E. PORTLAND ST.
    SCOTTSDALE, AZ 85257
    SSAN: xxx−xx−8213
    EIN:

Debtor(s)


         ORDER DENYING APPLICATION TO PAY FILING FEE IN INSTALLMENTS

   Debtors(s) have paid $ 0.00 of the filing fee and have filed an application to pay the balance in installments. A
review of the records of the court discloses that debtor(s) have filed one or more previous cases in which debtor(s) did
not pay the full filing fee.

   Local Bankruptcy Rule 1006−1 provides that when the debtor(s) owe a filing fee from a prior case, that the
debtor(s) are not eligible to pay the filing fee in installments in this case.

    IT IS ORDERED that debtor(s) application to pay the filing fee in installments is denied. The $ 335.00 balance of
the filing fee shall be paid on or before 5/15/19 .

   All payments are to be made at the U.S. Bankruptcy Court. Failure to pay the filing fee as ordered shall result in
dismissal of this case.



Date: May 1, 2019                                           BY THE COURT



Address of the Bankruptcy Clerk's Office:                   HONORABLE Eddward P. Ballinger Jr.
U.S. Bankruptcy Court, Arizona                              United States Bankruptcy Judge
230 North First Avenue, Suite 101
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov




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                   UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF ARIZONA



                NOTICE TO CUSTOMERS REGARDING PAYMENT
                             OF FILING FEES

The Court accepts cashier's checks or money orders payable to Clerk, U.S. Bankruptcy Court. Payments must be made
in person or by mail at the Phoenix or Tucson Clerk's Office locations. Personal checks cannot be accepted for
payment of filing fees.




   NOTICE TO CUSTOMERS PRESENTING CHECKS FOR PAYMENT
                OTHER THAN FOR FILING FEES
                                            (In Person or By Mail)

When you provide a check as payment, you authorize us either to use information from your check to make a
one−time electronic fund transfer from your account or to process the payment as a check transaction. For inquiries,
please call 602−682−4215.

When we use information from your check to make an electronic fund transfer, funds may be withdrawn from your
account as soon as the same day you make your payment, and you will not receive your check back from your
financial institution. Upon notification of clearance, the check will be destroyed.




                      NOTICE TO CUSTOMERS − PRIVACY ACT

A Privacy Act Statement required by 5 U.S.C. § 552a(e)(3) stating our authority for soliciting and collecting the
information from your check, and explaining the purposes and routine uses which will be made of your check
information, is available from the Federal Register at:
https://www.federalregister.gov/documents/2003/02/04/03−2521/privacy−act−of−1974−as−amended−system−of−records,
or call toll free at 1−866−945−7920 to obtain a copy by mail. Furnishing the check information is voluntary, but a
decision not to do so may require you to make payment by some other method.




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